Case 1:16-cv-05475-AKH Document 24-2 Filed 09/16/16 Page 1 of 1



                              EXHIBIT B

          Dates of Plaintiff Atlas Leveraged Master Fund, Ltd.'s
           Purchases of ARCP Common Stock Security-Based
                                   Swaps:


                                9/17/14
                                9/18/14
                                9/24/14
                                9/25/14
                                9/30/14
                                10/01/14
                                10/02/14
                                10/03/14
                                10/06/14
                                10/07/14
                                10/08/14
                                10/09/14
                                10/13/14
                                10/15/14
                                10/16/14
                                10/22/14
                                10/23/14
                                10/24/14
                                10/27/14
                                10/28/14
                                10/29/14




                                   B-1
